        Case 2:01-cv-06049-MSG Document 293 Filed 06/01/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 ROBERT WHARTON,

                        Petitioner,                  Civil Action

                v.                                   No. 01-cv-6049

 DONALD T. VAUGHN,

                        Respondent.


                                           ORDER

       AND NOW, this 1st day of June, 2022, upon consideration of the Pennsylvania Office of

the Attorney General’s Motion to Continue the June 10, 2022 Hearing (ECF No. 289), it is hereby

ORDERED that the Motion is DENIED. Ms. Mahler is excused from attending the June 10

Hearing and Mr. Barker shall be present for the Attorney General’s Office.



                                            BY THE COURT:



                                            /s/ Mitchell S. Goldberg
                                            MITCHELL S. GOLDBERG, J.




                                               1
